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04

05                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
06                                     AT SEATTLE

07 UNITED STATES OF AMERICA,              )
                                          )             Case No. CR04-301-MJP
08               Plaintiff,               )
                                          )
09         v.                             )             SUMMARY REPORT OF U.S.
                                          )             MAGISTRATE JUDGE AS TO
10   JENNIFER RENEE LOWMAN,               )             ALLEGED VIOLATIONS
                                          )             OF SUPERVISED RELEASE
11               Defendant.               )
     ____________________________________ )
12

13          An initial hearing on a petition for violation of supervised release was held before the

14 undersigned Magistrate Judge on August 11, 2006. The United States was represented by

15 Assistant United States Attorney John Lulejian, and the defendant by Mr. Mark Larranaga.

16 The proceedings were recorded on cassette tape.

17          The defendant had been charged and convicted of Conspiracy to Distribute Less than

18 500 grams of Cocaine in violation of 21 U.S.C. § 841 (b)(1)(C) and 846. On February 11,

19 2005, defendant was sentenced by the Honorable Marsha J. Pechman to a term of eighty-

20 eight (88) days imprisonment, followed by three (3) years of supervised release.

21          The conditions of supervised release included the requirements that the defendant

22 comply with all local, state, and federal laws, and with the standard conditions. Special

23 conditions imposed included, but were not limited to, abstention from alcohol, participation

24 in drug/alcohol testing as instructed, participation in a mental health treatment program, and

25 consent to search.

26          In a Petition for Warrant or Summons dated July 13, 2006, U.S. Probation Officer

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01 Jerrod Akins asserted the following violation by defendant of the conditions of her

02 supervised release:

03          (1)    Failing to follow the instructions of the probation officer, in violation of

04 standard condition No. 3.

05          The defendant was advised of the allegation, and advised of her rights. Defendant

06 admitted to the violation, and waived any rights to an evidentiary hearing as to whether it

07 occurred.

08          I therefore recommend that the Court find the defendant to have violated the terms

09 and conditions of her supervised release as to violations 1, and that the Court conduct a

10 hearing limited to disposition. A disposition hearing has been set for August 16, 2006 at 10

11 a.m. before the Honorable Marsha J. Pechman.

12          Pending a final determination by the Court, the defendant has been released, subject

13 to continued supervision.



                                                          A
14          DATED this 11th day of August, 2006.

15
                                                          JAMES P. DONOHUE
16                                                        United States Magistrate Judge
17

18 cc:      District Judge:               Honorable Marsha J. Pechman
            AUSA:                         Mr. John Lulejian
19          Defendant’s attorney:         Mr. Mark Larranaga
20          Probation officer:            Mr. Jerrod Akins

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     VIOLATIONS OF SUPERVISED RELEASE
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